          Case 1:19-cv-01145-LKG Document 12 Filed 01/10/20 Page 1 of 1




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KYLE PIUNTI,

                          Plainti氏
                                                                   No.19‑H45C
V.
                                                                   Filcd January 10,2020
THE IINITED STATES,

                          Defendant.



                                            DISMISSAL ORDER

       Plaintiff proseKylePiunticommencedthisactiononAugustT,2019. ECFNo. 1. On
                                                                                   jurisdiction
October 3,20lg,the government filed a motion to dismiss for lack of subject-matter
pursuant to Rule 12(bxl) of the Rules of the United States Court of Federal Claims. ECF No. 6.

After plaintiff failed to file   a   timely response, the Court issued a Show Cause Order on
December g,20Ig,directing the plaintiff to file his outstanding response to the government's
motion to dismiss and to show cause, in writing, as to why he had not timely filed his response
by Decemb er 20,2019. ECF No, 1 1 . To date, plaintiff has not filed a response to the
government's motion to dismiss or a response to the Court's Show Cause Order.

       In light of the foregoing, the Court: (1) DIRECTS the Clerk's office to dismiss the
above-captioned matter without prejudice, and (2) DENIES-AS-MOOT the government's
motion to dismiss.

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